             4:10-cr-03054-RGK-CRZ                      Doc # 15          Filed: 06/29/10             Page 1 of 1 - Page ID # 20

"AO 472 (Rev. 3/86) Order of Detention Pending Trial

                                        UNITED STATES DISTRICT COURT
                                                                    District of
         UNITED STATES OF AMERICA                                                                                     201U JUN 29 PH 3: ~3
                               V.                                                ORDER OF DETENTION..P.ENDING TlUAL
              BANS TSANH TRUONG                                              Case Number: 4: lOcr3054 UrfJCE Of IHE CLERK
                            Defendant
    In accordance with the Bail Refonn Act. 18 U.S.C. § 3 I 42(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                               Part I-Findings of Fact
o (I) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(I) and has been convicted ofa 0 federal offense 0 state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
      o a crime of violence as defined in 18 U.S.C. § 3 I 56(a)(4).
      o an offense for which the maximum sentence is life imprisonment or death.
      o an offense for which a maximum tenn of imprisonment often years or more is prescribed in
      o a felony that was committed after the defendant had been convicted oftwo or more prior federal offenses described in 18 U.S.C.
             ~~~------~~~~~~~~~----~~~------~~~~~~--~~~~~-
                                                                                                                                                 ••
           § 3 I 42(f)(I)(AHC), or comparable state or local offenses.
o (2) The offense described in finding (l) was committed while the defendant was on release pending trial for a federal, state or local offense.
o (3) A period ofnot more than five years has elapsed since the 0 date of conviction Drelease of the defendant from imprisonment
      for the offense described in finding (I).
o (4) Findings Nos. (I), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                Alternative Findings (A)
X    (I) There is probable cause to believe that the defendant has committed an offense
         X for which a maximum tenn of imprisonment often years or more is prescribed in 21 U.S.C. Sec. 801 et Seq.
         o under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding I that no condition or combination ofconditions will reasonably assure
         the appearance of the defendant as required and the safety ofthe community.
                                                                Alternative Findings (B)
o (I) There is a serious risk that the defendant will not appear.
o (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                            Part II-Written Statement of Reasons for Detention
    I find that the credible testimony and infonnation submitted at the hearing establishes by      ~Iear and convincing evidence         0 a prepon·
derance ofthe evidence that


                       ,9               -                  I                '7



                                                   Part III-Directions Regarding Detention
     The defendant is committed to the custody ofthe Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government. the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                June 29, 2010                                                              sf Cheryl R. Zwart
                    Date                                                               Signature ofJudicial Officer
                                                                                   Cheryl R. Zwart, U.S. Magistrate Judge
                                                                                     Name and Title ofJudicial Officer
·Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section I of Act of Sept 15, 1980 (21 U.S.C. § 955a).
